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                                                                    General Docket
                                                            Eighth Circuit Court of Appeals

  Court of Appeals Docket #: 20-3047                                                                            Docketed: 10/01/2020
  Nature of Suit: 3896 Other Statutes                                                                            Termed: 06/09/2021
  Janet Hill v. Bank of America, et al
  Appeal From: U.S. District Court for the Southern District of Iowa - Central
  Fee Status: paid - cs

  Case Type Information:
    1) Civil
    2) Private
    3) null

  Originating Court Information:
     District: 0863-4 : 4:20-cv-00171-RGE
     Trial Judge: Rebecca Goodgame Ebinger, U.S. District Judge
     Date Filed: 06/01/2020
     Date Order/Judgment:                              Date NOA Filed:                             Date Rec'd COA:
     08/21/2020                                        09/17/2020                                  10/01/2020

  Prior Cases:
     None

  Current Cases:
    None



  Janet Hill                                                                Janet Hill
                Plaintiff - Appellant                                       [NTC Pro Se]
                                                                            543 Auburn Avenue
                                                                            Atlanta, GA 30312
  v.

  Bank of America, formerly known as Countrywide                            Jeana Goosmann
             Defendant - Appellee                                           Direct: 712-266-4000
                                                                            [COR NTC Retained]
                                                                            GOOSMANN LAW FIRM
                                                                            Firm: 712-226-4000
                                                                            410 Fifth Street
                                                                            Sioux City, IA 51101

  America's Wholesale Lender                                                Jeana Goosmann
             Defendant - Appellee                                           Direct: 712-266-4000
                                                                            [COR NTC Retained]
                                                                            (see above)

  Bank of New York Mellon                                                   Jeana Goosmann
              Defendant - Appellee                                          Direct: 712-266-4000
                                                                            [COR NTC Retained]
                                                                            (see above)

  MERS Inc.                                                                 Jeana Goosmann
                Defendant - Appellee                                        Direct: 712-266-4000
                                                                            [COR NTC Retained]
                                                                            (see above)

  Bony-TX/CT Government                                                     Jeana Goosmann
             Defendant - Appellee                                           Direct: 712-266-4000
                                                                            [COR NTC Retained]
                                                                            (see above)

  Real Time Resolutions, Inc.                                               Julie Tomka Bittner
              Defendant - Appellee                                          Direct: 515-453-8509
                                                                            [COR NTC Retained]
                                                                            MWH LAW GROUP, LLP
                                                                            Firm: 515-453-8509
                                                                            1501 42nd Street

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                                                            Suite 465
                                                            West Des Moines, IA 50266-1090

                                                            Logan Kraus
                                                            [NTC Retained]
                                                            MWH LAW GROUP, LLP
                                                            Firm: 515-453-8509
                                                            1501 42nd Street
                                                            Suite 465
                                                            West Des Moines, IA 50266-1090

                                                            Kerrie Marie Murphy
                                                            Direct: 515-453-8509
                                                            [COR NTC Retained]
                                                            MWH LAW GROUP, LLP
                                                            Firm: 515-453-8509
                                                            1501 42nd Street
                                                            Suite 465
                                                            West Des Moines, IA 50266-1090

  Bayview Loan Servicing, also known as Bayview Financial   Jeana Goosmann
             Defendant - Appellee                           Direct: 712-266-4000
                                                            [COR NTC Retained]
                                                            (see above)

  Does 1-100
                Defendant




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  Janet Hill

                Plaintiff - Appellant

  v.

  Bank of America, formerly known as Countrywide; America's Wholesale Lender; Bank of New York Mellon; MERS Inc.; Bony-TX/CT
  Government; Real Time Resolutions, Inc.; Bayview Loan Servicing, also known as Bayview Financial

                Defendants - Appellees

  Does 1-100

                Defendant




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  10/01/2020                      Civil case docketed. [4961686] [20-3047] (AEV) [Entered: 10/01/2020 04:32 PM]
                4 pg, 111.35 KB

  10/01/2020                      Originating court document filed consisting of notice of appeal, Order 8/20/20, Judgment 8/21/20, Order
                20 pg, 2.05 MB    9/17/20, docket entries, [4961688] [20-3047] (AEV) [Entered: 10/01/2020 04:38 PM]

  10/01/2020                      CLERK ORDER:The $505 appellate filing and docketing fee has not been paid and is due. Appellant is
                1 pg, 9.07 KB     directed to either pay the fee in the district court or file a motion for leave to proceed in forma pauperis in
                                  the district court within 21 days of the date of this order. If appellant does not pay the fee or move for IFP
                                  status by 10/22/2020, a show cause order will be entered directing the appellant to show cause why this
                                  appeal should not be dismissed for failure to prosecute. [4961689] [20-3047] (AEV) [Entered: 10/01/2020
                                  04:38 PM]
  10/01/2020                      CLERK ORDER:If the original file of the United States District Court is available for review in electronic
                1 pg, 9.35 KB     format, the court will rely on the electronic version of the record in its review. The appendices required by
                                  Eighth Circuit Rule 30A shall not be required. In accordance with Eighth Circuit Local Rule 30A(a)(2), the
                                  Clerk of the United States District Court is requested to forward to this Court forthwith any portions of the
                                  original record which are not available in an electronic format through PACER, including any documents
                                  maintained in paper format or filed under seal, exhibits, administrative records and state court files. These
                                  documents should be submitted within 10 days. [4961692] [20-3047] (AEV) [Entered: 10/01/2020 04:43
                                  PM]
  10/05/2020                      CORPORATE disclosure statement filed by Appellee Real Time Resolutions, Inc.. - FOR CAL [4962157]
                3 pg, 5.72 KB     [20-3047] (JTB) [Entered: 10/05/2020 09:23 AM]

  10/08/2020                      CORPORATE disclosure statement filed by Appellees Bank of America, Bank of New York Mellon,
                3 pg, 146.45 KB   America's Wholesale Lender, Bayview Loan Servicing, Bony-TX/CT Government, MERS Inc. and Real
                                  Time Resolutions, Inc.. - FOR CAL [4963810] [20-3047] (JG) [Entered: 10/08/2020 10:40 AM]
  10/28/2020                      CLERK ORDER:APPELLANT has failed to pay to the Clerk of the District Court the requisite docketing
                1 pg, 8.96 KB     fees. APPELLANT is directed to show cause within 14 days why this appeal should not be dismissed for
                                  failure to prosecute. Response of Janet Hill due 11/12/2020 [4970424] [20-3047] (AEV) [Entered:
                                  10/28/2020 11:22 AM]
  10/28/2020                      BRIEF FILED - APPELLANT BRIEF filed by Janet Hill with attached exhibits w/service 10/30/2020. Length:
                74 pg, 2.89 MB    19 pages. Copies 5.
                                  The court has received and filed appellant's brief. Because no briefing schedule has been established, the
                                  appellant's brief is premature. Until a briefing schedule is established, no appellee responsive brief is due
                                  at this time.
                                  [4971557] [20-3047] (BNW) [Entered: 10/30/2020 03:27 PM]
  11/12/2020                      RESPONSE in opposition to clerk order for failure to pay docket fee [4970424-2], [4970424-3] filed by
                5 pg, 227.87 KB   Appellant Janet Hill noting payment of the filing fee in District Court, w/service 11/10/2020. [4975491] [20-
                                  3047] (AEV) [Entered: 11/13/2020 01:01 PM]
  11/13/2020                      CLERK ORDER: On the Court's own motion, Appellant is granted an extension of time to pay the filing fee
                2 pg, 108.12 KB   in district court, up to and including, until 11/30/2020. We note the district court returned Appellant's
                                  overpayment in the amount of $550 on November 12, 2020. [4975497] [20-3047] (AEV) [Entered:
                                  11/13/2020 01:05 PM]
  12/01/2020                      UPDATED fee status - [Case Number 20-3047: paid - cs] $505 filing fee paid on 11/23/20 in district court.
                                  [4980785] [20-3047] (AEV) [Entered: 12/01/2020 03:34 PM]
  12/01/2020                      BRIEFING SCHEDULE SET AS FOLLOWS: If the original file of the U.S. District Court is available for
                1 pg, 11.48 KB    review in electronic format, the court will rely on the electronic version of the record in its review. The
                                  appendices required by 8th Circuit Rule 30A shall not be required. In accordance with 8th Circuit Local
                                  Rule 30A (a)(2), the clerk of the United States District Court is requested to forward to this Court forthwith
                                  any portions of the original record which are not available in an electronic format or filed under seal,
                                  exhibits, administrative records and state court files.

                                  Appellant's brief filed 10/28/20 is accepted; Appellee brief is due 12/31/20.
                                  [4980854] [20-3047] (AEV) [Entered: 12/01/2020 04:23 PM]
  12/29/2020                      MOTION for extension of time to file brief until 01/07/2021, filed by Attorney Ms. Jeana Goosmann for
                3 pg, 151.79 KB   Appellees America's Wholesale Lender, Bank of America, Bank of New York Mellon, Bayview Loan
                                  Servicing, Bony-TX/CT Government and MERS Inc. w/service 12/29/2020. [4989429] [20-3047] (JG)
                                  [Entered: 12/29/2020 04:06 PM]
  12/29/2020                      On December 1, 2016, the Federal Rules of Appellate Procedure were amended to require a certificate of
                                  compliance for motions/petitions filed under [Rule 27/Rule 5/Rule 21/Rule 35/Rule 40], certifying that the
                                  document complies with the type-volume limitations and stating the number of words in the document. Your
                                  recently filed motion/petition did not contain this certificate of compliance.
                                  No action will be taken on your motion for extension of time to file brief, [4989429-2], submitted by
                                  Ms. Jeana Goosmann in 20-3047 , pending the filing of a certificate of compliance using the
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                                   'Certificate of Compliance' event. Please do not refile your motion [20-3047] (JPP) [Entered:
                                   12/29/2020 04:29 PM]
  12/29/2020                       CERTIFICATE OF COMPLIANCE filed by Attorney Ms. Jeana Goosmann for Appellees America's
                2 pg, 146.41 KB    Wholesale Lender, Bank of America, Bank of New York Mellon, Bayview Loan Servicing, Bony-TX/CT
                                   Government and MERS Inc. correcting [4989429-2] motion for extension of time to file brief filed by
                                   Attorney. [4989474] [20-3047] (JG) [Entered: 12/29/2020 06:22 PM]
  12/30/2020                       CLERK ORDER:Granting [4989429-2] motion for extension of time to file brief filed by Ms. Jeana
                1 pg, 8.88 KB      Goosmann. Brief of America's Wholesale Lender, Bank of America, Bank of New York Mellon, Bayview
                                   Loan Servicing, Bony-TX/CT Government, MERS Inc. and Real Time Resolutions, Inc. due 01/07/2021.
                                   [4989586] [20-3047] (MVP) [Entered: 12/30/2020 09:55 AM]
  12/31/2020                       APPELLEE brief of Real Time Resolutions, Inc. submitted for review. The time for filing the subsequent
                0 pg, 0 KB         brief (if any) does not begin to run until the brief has been approved and filed. To open/view this brief, you
                                   must first login to CM/ECF and then open the document link in your Notice of Docket Activity. Only direct
                                   recipients on accounts can open this document. [4990096] [20-3047] (JTB) [Entered: 12/31/2020 01:36
                                   PM]
  01/04/2021                       BRIEF FILED - APPELLEE BRIEF filed by Real Time Resolutions, Inc.,
                20 pg, 155.9 KB    w/service 12/31/2020 , Length: 20 pages
                                   10 COPIES OF PAPER BRIEFS (WITHOUT THE APPELLATE PDF FOOTER) FROM Real Time
                                   Resolutions, Inc. due 01/11/2021 WITH certificate of service for paper briefs [4990433] [20-3047]
                                   (JPP) [Entered: 01/04/2021 12:20 PM]
  01/04/2021                       MOTION to file an amended brief and for extension of time to file brief until 02/01/2021, filed by Appellant
                6 pg, 138.1 KB     Janet Hill w/service 12/30/2020. [4990560] [20-3047] (MVP) [Entered: 01/04/2021 02:29 PM]

  01/05/2021                       CLERK ORDER:The motion to file an amended brief is denied without prejudice to Appellant’s filing of a
                1 pg, 8.94 KB      statement identifying the issues she intends to raise in an amended brief [4990560-2] [4991099] [20-3047]
                                   (MVP) [Entered: 01/05/2021 01:31 PM]
  01/07/2021                       APPELLEE brief of Bank of America, America's Wholesale Lender, Bank of New York Mellon, Bayview
                0 pg, 0 KB         Loan Servicing, Bony-TX/CT Government and MERS Inc. submitted for review. The time for filing the
                                   subsequent brief (if any) does not begin to run until the brief has been approved and filed. To open/view
                                   this brief, you must first login to CM/ECF and then open the document link in your Notice of Docket Activity.
                                   Only direct recipients on accounts can open this document. [4992022] [20-3047] (JG) [Entered: 01/07/2021
                                   12:06 PM]
  01/07/2021                       BRIEF FILED - APPELLEE BRIEF filed by America's Wholesale Lender, Bank of America, Bank of New
                18 pg, 218.99 KB   York Mellon, Bayview Loan Servicing, Bony-TX/CT Government and MERS Inc.,
                                   Appellant's reply brief deadline will be set, based on the Certificate of Service in appellee's paper brief.
                                   w/service 01/07/2021 , Length: 2863 words
                                   10 COPIES OF PAPER BRIEFS (WITHOUT THE APPELLATE PDF FOOTER) FROM America's
                                   Wholesale Lender, Bank of America, Bank of New York Mellon, Bayview Loan Servicing, Bony-
                                   TX/CT Government and MERS Inc. due 01/12/2021 WITH certificate of service for paper briefs
                                   [4992162] [20-3047] (JPP) [Entered: 01/07/2021 03:05 PM]
  01/12/2021                       Paper copies Appellee/Respondent brief, [4990433-2] filed by Real Time Resolutions, Inc. 10 paper copies
                                   received.
                                   [4993525] [20-3047] (CRJ) [Entered: 01/12/2021 12:04 PM]
  01/13/2021                       Paper copies Appellee/Respondent brief, [4992162-2] filed by America's Wholesale Lender, Bank of
                1 pg, 9.29 KB      America, Bank of New York Mellon, Bayview Loan Servicing, Bony-TX/CT Government and MERS Inc. 10
                                   paper copies received.
                                   Reply brief of Janet Hill due 02/03/2021 [4994116] [20-3047] (NDG) [Entered: 01/13/2021 02:43 PM]
  02/05/2021                       Tendered: Amended Opening Brief received from Appellant Janet Hill. **STRICKEN Per 2/5/21 Clerk
                1 pg, 9.02 KB      Order** [5001994] [20-3047]--[Edited to indicate stricken 02/05/2021 by HAG] (HAG) [Entered: 02/05/2021
                                   03:07 PM]
  02/05/2021                       CLERK ORDER: Appellant has submitted an amended opening brief, Doc. No. [5001994-2]. Appellant's
                1 pg, 11.87 KB     motion to file an amended opening brief was denied on January 5, 2021, without prejudice to Appellant's
                                   filing of a statement identifying the issues she intends to raise in an amended brief. Appellant has not filed
                                   a statement as directed, therefore, the amended opening brief is stricken. [5002002] [20-3047] (HAG)
                                   [Entered: 02/05/2021 03:18 PM]
  05/21/2021                       CASE SUBMITTED Screening Case Submission before Judges Steven M. Colloton, Bobby E. Shepherd,
                                   L. Steven Grasz in St. Louis [5038009] [20-3047] (HAG) [Entered: 05/21/2021 08:53 AM]
  06/09/2021                       PER CURIAM OPINION FILED - THE COURT: Steven M. Colloton, Bobby E. Shepherd and L. Steven
                3 pg, 210.68 KB    Grasz (UNPUBLISHED) [5043438] [20-3047] (CMD) [Entered: 06/09/2021 09:14 AM]
  06/09/2021                       JUDGMENT FILED - The judgment of the Originating Court is AFFIRMED in accordance with the opinion
                1 pg, 81.84 KB     STEVEN M. COLLOTON, BOBBY E. SHEPHERD and L. STEVEN GRASZ Scrg May 2021 [5043441] [20-

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                                 3047] (CMD) [Entered: 06/09/2021 09:18 AM]
  06/30/2021                     MANDATE ISSUED. [5050571] [20-3047] (JPP) [Entered: 06/30/2021 10:47 AM]
                1 pg, 77.6 KB




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